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                                           April 18, 2021



By Electronic Mail

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Elisa Fernandez
Judith A Heinz
Assistant United States Attorneys
U.S. Attorney's Office for the
Central District of California
312 North Spring Street
Los Angeles, CA 90012

        Re:        United States v. Zuberi, No. 2:19-cr-00642-VAP

Dear Counsel:

        On behalf of Defendant Imaad Shah Zuberi, we write to request immediate identification
and disclosure, under Brady v. Maryland, 373 U.S. 83 (1963), its progeny, including United States
v. Agurs, 427 U.S. 97 (1976), Kyles v. Whitley, 514 U.S. 419 (1995), Jackson v. Brown, 513 F.3d
1057 (9th Cir. 2008), and California Rule of Professional Conduct, Rule 3.8, of all information (in
whatever form) that would tend to exculpate Mr. Zuberi or mitigate his punishment with respect
to the charges against him.

        We further request immediate identification and disclosure, under Napue v. Illinois, 360
U.S. 264 (1959), Alcorta v. Texas, 355 U.S. 28 (1957), and their progeny, including Hayes v.
Brown, 399 F.3d 972 (9th Cir. 2005) (en banc), and California Rule of Professional Conduct, Rule
3.3, of all information (in whatever form) that would tend to show that Mr. Zuberi’s convictions
or sentence rest in any part on evidence or information submitted to the Court that was false.

       This request includes information in the possession, custody, or control of the United States
Attorney’s Office or any agency or individual who participated in the investigation or prosecution
of Mr. Zuberi. United States v. Cano, 934 F.3d 1002, 1023 (9th Cir. 2019) (emphasizing that




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